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                             Exhibit 1
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                                                                                            USOO7613938B2


   (12) United States Patent                                             (10) Patent No.:                  US 7,613,938 B2
          Doyon et al.                                                   (45) Date of Patent:                        Nov. 3, 2009
   (54) POWER CYCLE CIRCUIT                                           (56)                    References Cited
   (75) Inventors: Eric Doyon, Gatineau (CA); Charles                                  U.S. PATENT DOCUMENTS
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   (*) Notice:        Subject to any disclaimer, the term of this      2006/0277421 A1* 12/2006 Balestriere ........           ...    13,300
                      patent is extended or adjusted under 35         * cited by examiner
                      U.S.C. 154(b) by 415 days.
                                 (b) by     ayS                       Primary Examiner Thomas Lee
   (21) Appl. No.: 11A370,618                                         Assistant Examiner Michael J Brown
                              9                                       (74) Attorney, Agent, or Firm—Smart & Biggar
    22) File
   (22) Filed:        Mar
                        ar. 8,S., 2006                                (57)                      ABSTRACT
   (65)               Prior Publication Data                          An apparatus comprises a controller for controlling operation
          US 2007/0214372A1      Sep. 13, 2007                        of the apparatus and a Switch for Switchably coupling elec
                                                                      trical power to the controller to enable the controller and
   (51) Int. Cl.                                                      apparatus to operate. The controller includes a module for
        G06F I/26                 (2006.01)                           controlling the switch to decouple electrical power from the
                                                                      apparatus, including the controller, and the apparatus further
        G06F I/28                 (2006.01)                           comprises a switch controller for controlling the switch to
          G06F I/30               (2006.01)                           restore electrical power to the apparatus and controller a
                                                                      predetermined period of time after the switch decouples elec
   (52) U.S. Cl. ....................... 713/300; 713/310; 713/323;   trical power therefrom. The apparatus may be embodied in a
                                                            713/324   line card of a communication system and the controller may
                                                                      comprise a control processor for controlling local operations
   (58) Field of Classification Search ................. 713/300,     of the line card.
                                            713/310,323,324
          See application file for complete search history.                            20 Claims, 5 Drawing Sheets


                                                                                                                          1OO
                                                                                                                        M
                                                                              SWitch
                                                                             Controller              130
      110




                                  105
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                                                                      1OO


                                                        130




                                       F.G. 1




                  Customer
                                                              Switching
                  Interface                                     Fabric
                                                              Interface
                                                                 270
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                          350

                 Controller
                   310




                       305               FIG. 3



           T- Power from Backplane




                                      FG. 4
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                   Verifie? 530

         Control        Interface
         Signal            532            DeCoder
                                                          536
                                           534

                                         F.G. 5
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                                                                     No
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      Controller Verifier
            OP At                          —? 701
          Timer Output               I                                 7703
              Voltage to                                                 705
              Controller


                                  to t                      t?




                                         FIG. T.
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                                                            US 7,613,938 B2
                                    1.                                                                     2
                   POWER CYCLE CIRCUIT                                         electrical power from the device and the controller. In this
                                                                               arrangement, the module controls Switching off of power to
                   FIELD OF THE INVENTION                                      both the device and to itself. The switch controller controls
                                                                               the switch to restore electrical power both to the controller
      The present invention relates to circuits for controlling                and to the device. This arrangement provides a simple and
   power cycles, and in particular, but not limited to, circuits for           inexpensive means of implementing a power cycle capability.
   controlling power cycles in communication devices.                          For example, where the apparatus includes a Switchable
                                                                               device. Such as a power converter, for providing power both to
                           BACKGROUND                                          the controller and the device, the arrangement enables a
                                                                          10   power cycle to be performed simply by controlling the swit
      A communication network Switch typically comprises a                     chable device.
   number of line cards having communication ports connected                      In some embodiments, the apparatus comprises a line card
   to a communication network for transmitting and receiving                   for a communication system and the controller comprises a
   communication data to and from the network, and a control                   processor on the line card for controlling operation thereof.
   processor for controlling local operations of the line card. A         15
                                                                                  In some embodiments, the controller may include an inter
   control card is also provided for monitoring and managing                   face for receiving a signal from a remote location to cause the
   operation of the line cards. Occasionally, events occur which               controller to shut down power to the device, and optionally to
   cause line cards to malfunction or become inoperative, and in               itself. This arrangement enables a line card processor to be
   Some cases line cards can be restored to their operative con                controlled from a remote location to perform a power cycle on
   dition by a software reset which causes the software which                  the line card, thereby obviating the need for personnel to
   controls the card to reboot. However, in Some situations, a                 physically visit the location of the network element. For
   Software reset is insufficient to clear the error, and in this case,        example, the power cycle control signal may be sent remotely
   personnel need to be dispatched into the field to physically                from a network management system (NMS). Furthermore,
   inspect the Switching element on sight and resolve the prob                 since the reset is controlled by the line card's local processor
   lem. In many cases, errors can be cleared and line card opera          25
                                                                               and is performed on itself, line cards can be controlled indi
   tion restored by switching off power to the line card for a                 vidually to reset themselves without effecting other line
   predetermined length of time which is typically sufficient to               cards.
   discharge capacitive components on the card, and then restor
   ing power to the card. A power cycle is performed by discon                    In some embodiments, the apparatus may include a detec
   necting power to the card, which typically requires pulling the        30   tor for detecting a condition of the apparatus (e.g. a condition
   card out of the slot, waiting a few seconds, and then reinsert              of the device) and the module is responsive to the detection of
   ing the card into the slot to reconnect power to the card. A                the condition to control the switch to decouple electrical
   drawback of this procedure is that personnel must physically                power from the device.
   visit the network element site in order to perform a power                     In some embodiments, the device may comprise a device
   cycle on the failed line card which is both costly and time            35   capable of adopting different states (such as a memory device,
   consuming.                                                                  for example) and the condition is one in which the device
                                                                               becomes incapable of changing state.
                SUMMARY OF THE INVENTION                                          In some embodiments, the Switch controller comprises a
                                                                               timing circuit for controlling the predetermined length of
      According to one aspect of the present invention, there is          40   time power to the controller is turned off, and for controlling
   provided an apparatus comprising: a device; a controller for                the timing when power to the controller is restored.
   controlling operation of the device, and a Switch for Switch                   In some embodiments, the timing circuit is electrically
   ably coupling electrical power to the device to enable the                  isolated from the device and/or the controller. For example,
   device to operate, the controller including a module for con                the timing circuit may be energized by an electrical power
   trolling the switch to decouple the electrical power from the          45   Source whose Voltage is higher than that required to drive the
   device, and the apparatus further comprising a Switch con                   device and/or the controller. Electrical isolation between the
   troller for controlling the switch to restore the electrical                device and/or controller and the timing circuit assists in
   power to the device a predetermined time after the switch                   increasing the reliability of the system in completely remov
   decouples the electrical power from the device.                             ing power from the device and/or controller during the power
      In this arrangement, the controller which controls opera            50   cycle.
   tion of the apparatus controls the Switching off of power to a                 In Some embodiments, the module for controlling the
   device to enable the device to undergo a power cycle, where                 Switch is adapted to generate and transmit a command to the
   power is shut off for a predetermined length of time and then               switch for causing the switch to decouple power to the device
   restored.
                                                                               and/or controller.
      In some embodiments, the switch controller is operable              55
                                                                                  Some embodiments of the apparatus further comprise a
   independently of the controller for controlling the switch to
   restore the electrical power to the device. In this arrangement,            verifier or validation circuit for verifying that the command is
   the switch controller enables electrical power to be restored to            a valid command for decoupling power from the device and/
   the device if the module becomes inoperative, for example in                or controller. The verifier reduces the risk that the controller
   the event that power is also removed from the controller.              60   will initiate a power cycle through a signal that was not
      In some embodiments, the switch is adapted to switchably                 intended to cause a power cycle.
   couple electrical power to the controller to enable the con                    In some embodiments, the apparatus comprises a plurality
   troller to operate, the module is arranged for controlling the              of devices (i.e. two or any other number) which are coupled to
   switch to decouple electrical power from the device and the                 the switch to receive power to enable them to operate, and
   controller, and the switch controller is adapted for controlling       65   which undergo a power cycle when the switch is turned off.
   the switch to restore electrical power to the device and to the                In some embodiments, two or more Switches may be pro
   controller a predetermined time after the switch decouples the              vided, each of which switchably couples power to a different
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   device, and are operable to perform a power cycle, for                          BRIEF DESCRIPTION OF THE DRAWINGS
   example, under the control of the or a controller and/or the or
   a switch controller.                                                        Examples of embodiments of the invention will now be
      According to another aspect of the present invention, there            described in greater detail with reference to the accompany
   is provided a circuit card comprising: one or more devices, a             ing drawings, in which:
   controller for controlling operation of the circuit card, and a             FIG. 1 is a block diagram of an apparatus in accordance
   Switch responsive to a command received from the controller,              with one embodiment of the present invention;
   for causing electrical power to at least one device to be                   FIG. 2 is a block diagram of a circuit card in accordance
   decoupled therefrom for a predetermined period of time.                   with one embodiment of the present invention;
      In some embodiments, the Switch is responsive to the com          10     FIG. 3 is a block diagram of an apparatus in accordance
   mand for decoupling electrical power to the controller for a              with one embodiment of the present invention;
   predetermined period of time.                                               FIG. 4 is a block diagram of a circuit card in accordance
      In some embodiments, the Switch comprises a timing cir                 with one embodiment of the present invention;
   cuit.                                                                       FIG. 5 is a block diagram of a verifier in accordance with
      In some embodiments, the timing circuit is adapted to             15   one embodiment of the present invention;
   transmit a signal to an electrical power device in response to              FIG. 6 is a circuit diagram of a timing circuit in accordance
   the command, that causes the electrical power to be                       with one embodiment of the present invention; and
   decoupled from the controller, and after the predetermined                  FIG. 7 shows an example of a timing diagram for illustrat
   period of time, sends a signal to the electrical power device             ing operation of an embodiment of the invention.
   that causes electrical power to the controller to be restored.               DETAILED DESCRIPTION OF THE PREFERRED
      In some embodiments, the electrical power device com                                  EMBODIMENTS
   prises a power converter which may or may not be located on
   the circuit card.
      According to another aspect of the present invention, there              Referring to FIG. 1, an apparatus 100 in accordance with
   is provided an apparatus comprising: a device for performing         25   one embodiment of the present invention, comprises a device
   operations associated with the apparatus, a Switch for Swit               105 and a controller 110 for controlling operation of the
                                                                             device. The device 105 and controller 110 are enabled to
   chably coupling electrical power to the device to enable the              operate by electrical power from an electrical power Source
   device to operate, the device including a module for control              140. A switch 120 can couple and decouple the electrical
   ling the switch to decouple electrical power from the device,
   and the apparatus further comprising a Switch controller for         30   power to and from the device 105 and the controller 110. The
   controlling the switch to restore electrical power to the device          controller 110 includes a module 112 for controlling the
   a predetermined time after the switch decouples electrical                switch to decouple the electrical power source 140 from the
   power from the device.                                                    device 105 and the controller 110. The apparatus also
      In some embodiments, the apparatus further comprises an                includes a switch controller 130, which controls the switch
   interface for receiving a control signal for causing the module      35   120 to restore the electrical power from the power source 140
   to control the switch.                                                    to the device and controller after a predetermined time has
      In some embodiments, the apparatus comprises a detector                elapsed from decoupling the electrical power from the device
                                                                             and the controller.
   for detecting a condition of the apparatus, and wherein the                 Therefore, in operation the module 112 for controlling the
   module is responsive to the detection of the condition to            40   switch 120 can issue a command to the switch 120 to
   control the switch to decouple electrical power from the                  decouple the electrical power from the controller 110, thus
   device.
      In some embodiments, the device comprises a controller                 cutting off its own power. The switch controller 130 will
   for controlling operation of the apparatus.                               restore the electrical power after a predetermined time has
                                                                             elapsed from decoupling.
      In some embodiments, the device is adapted to perform             45      In this arrangement, both the controller and device are
   operations associated with the apparatus, for example one or              driven from a Voltage source through a common Switch,
   more other devices associated with the apparatus.                         which therefore controls power to both elements. The provi
      In some embodiments, the device comprises a processor or               sion of a switch controller 130 which is operable indepen
   a logic device, for example a field programmable gate array               dently of the controller 110, to restore power to the device and
   (FPGA), an application specific integrated circuit (ASIC), a         50   controller, allows the reset or power cycle to be performed by
   programmable logic device (PLD) or a programmable logic                   the common switch, which results in power to both the device
   array (PLA).                                                              and the controller to be turned off for a period of time. With
      In some embodiments, the apparatus comprises a commu                   the same arrangement, the power cycle can be initiated by the
   nication device. Such as a line card of a network element, for            controller 110.
   example a router or network Switch.                                  55      In some embodiments the switch controller 130 is a timing
      According to another aspect of the present invention, there            circuit. One example of a timer that can be used in Such a
   is provided an apparatus comprising: a controller for control             timing circuit is an ICM 7555 timer. In some embodiments,
   ling operation of the apparatus; a Switch for Switchably cou              the timing circuit is electrically isolated from the controller
   pling electrical power to the controller; a verifier for receiving        110. This may beachieved using, for example, a relay switch,
   a control signal and Verifying whether the control signal is a       60   a transformer or an optical coupler.
   valid control signal and for controlling the Switch to decouple              In some embodiments, the timing circuit requires power to
   the electrical power from the controller if the control signal is         operate and may receive electrical power other than via the
   valid.                                                                    switch 120. In other embodiments, the timing circuit may
     Other aspects and features of the present invention will                receive power through the switch 120, and store electrical
   become apparent, to those ordinarily skilled in the art, upon        65   power to enable it to operate.
   review of the following description of the specific embodi                  In some embodiments, the device includes one or more
   ments of the invention.                                                   capacitive elements or has electrical capacitance, and the
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    predetermined period of time after which the switch control              cycle. For example, the memory or part thereof may acquire
    ler 130 restores power is sufficient to allow the capacitive             a fixed state from which it cannot return. The controller or
    element(s) or capacitance to discharge. Advantageously, this             another device may be operable to detect this condition, and
    provides a power cycle that enables the apparatus to fully               the controller responds by initiating a power cycle to reset the
    power down.                                                              memory, as required.
       In some embodiments the module 112 for controlling the                  FIG. 3 is a block diagram of another exemplary embodi
    switch 120 controls the switch by sending a command to the               ment of the present invention. An apparatus 300 comprises a
    Switch to decouple power. The apparatus may also comprise                device 305 and a controller 310 for controlling operation of
    a verifier for verifying that the command issued by the mod              the device, a switch 320 for coupling an electrical power
    ule 112 is a valid command for decoupling power from the            10   source 340 to the device and the controller, and a verifier 330
    controller 110. Verifying that the command is a valid com                for receiving a control signal and verifying whether the con
    mand as a pre-requisite to Switching off power to the control            trol signal is a valid control signal. The verifier 330 further
    ler assists in preventing power to the controller from being             controls the switch 320 to decouple the electrical power 340
    turned off accidentally, by, for example, an erroneous signal            from the controller 310 if the control signal is valid.
    from the controller.                                                15      In some embodiments, the control signal is received from
       In some embodiments, the controller is a processor or logic           the controller 310. In these embodiments, the controller 310
    device located on a line card in a communication system.                 is adapted to issue a command to shut down power to the
       An interface, for example, interface 150, may be provided             device and to itself. In other embodiments, the control signal
    for transmitting signals to the controller from another device           is received from a device external of the apparatus.
    and/or a remote location. The interface may be used to trans                An interface, for example, an interface 350, may be pro
    mit to the controller a signal for causing the controller to             vided for transmitting signals to the controller from another
    perform a power cycle on the device and on itself. In some               device and/or a remote location. The interface may be used to
    embodiments, the apparatus may include a detector for                    transmit to the controller a signal for causing the controller to
    detecting a malfunction or other (fault) condition and the               perform a power cycle on the device and on itself. In some
    controller may be responsive to the detected condition to           25   embodiments, the apparatus may include a detector for
    perform a power cycle.                                                   detecting a malfunction or other condition (e.g. fault condi
       Now referring to FIG. 2, a further embodiment of the                  tion) and the controller may be responsive to the detected
    present invention is a circuit card 200 comprising a controller          condition to perform a power cycle.
    210, a data path 225 which includes a customer interface 260                In some embodiments, the verifier 330 comprises a
    and a switching fabric interface 270, a memory 275 and a            30   sequence decoder and the control signal comprises a coded
    switch 220, which is operable to switchably couple/decouple              sequence. The sequence decoder decodes the coded sequence
    an electrical power source 240 to and from the controller, the           and verifies that the decoded sequence is a correct sequence
    data path and the memory. The switch 220 is responsive to a              for decoupling the electrical power 340 from the controller
    command received from the controller 210 to cause the elec               310. The control signal may also comprise an enable com
    trical power source 240 to be decoupled from the controller         35   mand. In these embodiments, the verifier 330 will only con
    210, the data path 225 and the memory 275 for a predeter                 trol the switch 320 to decouple the electrical power source
    mined period of time.                                                    340 from the controller 310 if the decoded sequence is the
       In some embodiments the Switch 220 comprises a timing                 correct sequence and the enable command is received.
    circuit which performs a similar function to the timing circuit             In some embodiments, the verifier 330 also comprises an
    described with reference to FIG.1. Some embodiments of the          40   interface for interfacing with the controller 310. As with the
    timing circuit send a signal to an electrical power device that          previously described embodiments, the switch 320 may com
    causes the electrical power source 240 to be decoupled from              prise a timing circuit.
    the controller 210, the data path and the memory. The timing                The apparatus described with reference to FIG.3 may be
    circuit then sends another signal to the electrical power device         located on a circuit card Such as a line card in a communica
    after the predetermined period of time has elapsed that causes      45   tion system. The controller may comprise a processor (or
    the electrical power to be restored to the controller 210. One           logic device) for controlling and/or monitoring functions of
    example of an electrical power device is a DC power con                  one or more components of the line card.
    verter located either on or off the circuit card.                           FIG. 4 is a block diagram of a circuit card 400 in accor
       As with the apparatus described with reference to FIG. 1,             dance with a specific embodiment of the present invention.
    the timing circuit of the circuit card 200 may also be electri      50   The circuit card comprises a controller 410, a verifier 430, a
    cally isolated from the controllerby any one or more of a relay          timing circuit 420 and a DC power converter 440. The DC
    Switch, a transformer, an optical coupler, or any other Suitable         power converter 440 and the timing circuit 420 receive power
    device.                                                                  from a power Source, for example a back plane. The controller
       The circuit card 200 may also comprise a verifier (not                410 receives electrical power from the DC power converter
    shown) for verifying that the command received from the             55   440. The controller 410 controls operation of the circuit card
    controller is a valid command for decoupling the electrical              400 (for example one or more device thereon not shown)
    power source 240 from the controller 210, the data path 225              and can issue a command that directs the timing circuit 420 to
    and the memory 275.                                                      send a signal to the DC power converter 440 to shut down
       An interface, for example, interface 250, may be provided             power to the controller 410 and one or more elements of the
    for transmitting signals to the controller from another device      60   card that receive power from the power converter. The timing
    and/or a remote location. The interface may be used to trans             circuit 420, which is powered by the back plane, is adapted to
    mit to the controller a signal for causing the controller to             then automatically send a second signal after a predetermined
    perform a power cycle on elements of the card connected to               period of time to the DC power converter 440 to restore power
    receive power through the switch 220. In some embodiments,               to the controller 410. The verifier 430 verifies that the com
    the apparatus may include a detector for detecting a malfunc        65   mand from the controller 410 is a valid command for decou
    tion or other condition (e.g. fault condition) and the controller        pling power. A further feature of the circuit card 400 is an
    may be responsive to the detected condition to initiate a power          isolator 450 which electrically isolates the timing circuit from
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    the controller. In FIG. 4, the isolator 450 is positioned                   An example of operation of the circuit of FIG. 6 will now
    between the timing circuit 420 and the verifier 430. The                 be described with reference to the timing diagram of FIG. 7.
    isolator 450 may be a relay, a transformer or an optical cou                Referring to FIG. 7, when the apparatus is to undergo a
    pler or any device that will achieve the function of electrically        power cycle, the controller generates and transmits a signal or
    isolating the timing circuit from the other devices on the               command to cause the power controlling circuitry to turn off
    circuit card.                                                            power to the apparatus, including the controller. As indicated
       In this embodiment, one side of the isolator 450 (e.g. to the         in the embodiments described above, the signal or command
    left of the dashed line 470) is coupled, when operative, to the          may be optionally verified as a valid signal or command for
    output side of the power converter, and the other side of the            turning off power to the apparatus so that the signal or com
    isolator 450 and the timer are connected to receive power           10   mand or another signal generated in response thereto is only
    from the back plane. In this embodiment, the power converter             passed to the power controlling circuit if the signal is valid. In
    has a Switch on the power input side (e.g. above the dashed              the circuit of FIG. 6, in response to a power cycle command
    line 480 in FIG. 4), and the timing circuit is adapted to control        from the controller, a switch (not shown) is closed at time to,
    this switch to couple/decouple power to the controller and               to enable current to flow through the light emitting diode 619
    verifier and any other elements connected to receive power          15   of the optical coupler 603. This signal is shown as the first
    from the power converter.                                                trace 701 in FIG. 7. Light emitted by the light emitting diode
       In other embodiments, the timing circuit could be adapted             is received by the photo detector 621 of the optically coupled
    to control a switch on the output side of the power converter.           isolator 603 and starts the timer 604 at time t. At the same
    In other embodiments, the power converter may comprise an                time, the timer causes the Voltage at the output 613 to change
    a/c power converter, depending on the requirements of the                from low to high, as shown by the second trace 703 in FIG. 7,
    system.                                                                  and this causes the switch 605 of the voltage converter 606 to
       An interface, for example, an interface 460, may be pro               Switch off power to the apparatus and controller, as shown by
    vided for transmitting signals to the controller from another            the third trace 705 in FIG. 7.
    device and/or a remote location. The interface may be used to               After a predetermined time, for example four to five sec
    transmit to the controller a signal for causing the controller to   25   onds, (or any other time interval), the timer causes the Voltage
    perform a power cycle on the card. In some embodiments, the              at the output 613 to change from high to low, as indicated by
    card may include a detector for detecting a malfunction or               trace 703, causing the voltage converter to restore power to
    other condition (e.g. fault condition) and the controller may be         the apparatus at time t, as shown by trace 705.
    responsive to the detected condition to initiate a power cycle.             In this embodiment, the switch 605 is responsive to a
       FIG. 5 is a block diagram of an exemplary embodiment of          30
                                                                             positive change in the control signal to Switch off the power
    a verifier 530 that may be used in any of the apparatuses or             converter. Thus, in this embodiment, it is to be noted that the
    circuit cards described herein. The verifier 530 comprises an            power converter is responsive to a Voltage of a larger magni
    interface 532 for interfacing with a device that issues a control        tude in order to Switch off power to the apparatus and con
    signal for decoupling power from a controller. The control               troller, and a lower or Zero Voltage is required to cause the
    signal received by the interface comprises an enable com            35
                                                                             Voltage converter to provide power to the apparatus and con
    mand and a coded sequence. The coded sequence is decoded                 troller. Thus, in the normal state where the voltage converter
    by a decoder 534 and both parts of the control signal are then           Supplies power to the apparatus and controller, no or little
    processed by logic 536, which may, for example comprise a                voltage is required from the output of the timer circuit. In
    logic gate Such as an AND gate, or other logic device for                other embodiments, the Switch is responsive to a negative
    performing a logical operation on the two signals. If both the      40
                                                                             change in the control signal to Switch off power to the con
    enable command and the decoded sequence are valid, the                   verter. In this latter embodiment, an invertor may be con
    verifier 530 will issue a signal to a switch to decouple power           nected to the output 613 of the timer circuit to invert the signal
    from the controller.                                                     to the Switch 605.
       The verifier may be implemented by any suitable circuit,                 In other embodiments of the invention, the switch may be
    including but not limited to an FPGA (Field Programmable            45
                                                                             implemented to switchably couple only the controller to the
    Gate Array), a Programmable Logic Device or Array (PLD or                power source to enable the controller to undergo a power
    PLA) or other integrated circuit device.                                 cycle, or the switch may be implemented to switchably
       FIG. 6 is a circuit diagram of a timing circuit of a specific         couple one or more devices to the power Source under the
    embodiment of the present invention that may be used in any              control of the controller, and the controller may be powered
    of the apparatuses or circuit cards described herein.               50
                                                                             separately and not undergo the power cycle.
       Referring to FIG. 6, the circuit comprises an electrical                 Embodiments of the invention may be implemented in any
    isolator 603, for example an optical coupler, a timer circuit            apparatus or application, and are not limited to communica
    604, and a switch 605, which on/off controls a voltage con               tion devices.
    verter 606. The timer circuit 604 is coupled to receive elec
    trical power from a suitable power source, for example a            55     Other aspects and embodiments of the invention comprise
    voltage rail 609. The timer 604 includes a signal input 611 for          any one or more features disclosed herein in combination
    receiving an input signal from the optical coupler 603, and an           with any one or more other features or a variant or equivalent
    output 613 for controlling the switch 605. In one embodi                 thereof.
    ment, the voltage converter 606 is adapted to down convert an               In any of the aspects and embodiments of the invention
    input Voltage from a suitable Voltage source (e.g. a back plane     60   disclosed herein, any one or more features may be omitted
    Voltage source) to a reduced Voltage which is suitable for               altogether or substituted by another feature which may com
    energizing a controller, for example a processor for control             prise an equivalent or variant thereof.
    ling functions and operations of a line card and one or more                What has been described is merely illustrative of the appli
    other device(s) of the line card. In this embodiment, the                cation of the principles of the invention. Other arrangements
    voltage converter 606 provides a reduced voltage to the con         65   and methods can be implemented by those skilled in the art
    troller (not shown) and to terminals 615, 617 coupled to the             without departing from the spirit and scope of the present
    input side of the optical coupler 603.                                   invention.
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                                                          US 7,613,938 B2
                                    9                                                                   10
      The invention claimed is:                                               13. A circuit card comprising:
      1. A circuit card comprising:                                           one or more devices,
      a device;                                                               a controller for controlling operation of the circuit card,
      a controller for controlling operation of the device, and               a Switch responsive to a command received from the con
      a switch for switchably coupling electrical power to the                   troller, for causing electrical power to at least one device
         device to enable the device to operate,                                 to be decoupled therefrom for a predetermined period of
      the controller including a module for controlling the switch                  time, and
         to decouple the electrical power from the device,                    an electrical power device, operable independent of the
      and the circuit card further comprising a Switch controller,              controller, that causes electrical power to the at least one
         operable independent of the controller, for controlling       10       device and the controller to be restored after the prede
         the switch, if the switch also decouples electrical power              termined time period if the electrical power was also
         from the controller, to restore the electrical power to the            decoupled from the controller.
         device and the controller a predetermined time after the             14. The circuit card as claimed in claim 13, wherein said
         switch decouples the electrical power from the device              Switch is responsive to said command for decoupling electri
         and the controller.                                           15   cal power to said controller for a predetermined period of
                                                                            time.
      2. The circuit card as claimed in claim 1, wherein said                  15. The circuit card according to claim 13, wherein the
    switch controller is operable independently of said controller          Switch comprises a timing circuit.
    for controlling the switch to restore said electrical power.               16. The circuit card according to claim 15, wherein, in
      3. The circuit card as claimed in claim 2, wherein said               response to the command, the timing circuit sends a signal to
    switch is adapted to switchably couple electrical power to the          the electrical power device that causes the electrical power to
    controller to enable the controller to operate, said module is          be decoupled from the device and after the predetermined
    arranged for controlling the Switch to decouple the electrical          period of time sends a signal to the electrical power device
    power from the device and the controller, and the switch                that causes the electrical power to said device to be restored.
    controller is adapted for controlling the switch to restore the    25      17. The circuit card according to claim 13, further com
    electrical power to the device and to the controller a prede            prising a verifier for verifying that the command is a valid
    termined time after the switch decouples the electrical power           command for decoupling the electrical power from the con
    from the device and the controller.
                                                                            troller, and wherein said verifier comprises a sequence
      4. The circuit card of claim 1, wherein the Switch controller         decoder for decoding a coded sequence and Verifying that the
    comprises a timing circuit.                                        30   decoded sequence is a correct sequence.
       5. The circuit card of claim 4, wherein the timing circuit is          18. The circuit card of claim 17, wherein the verifier
    electrically isolated from the controller.                              requires both the correct sequence and an enable command
      6. The circuit card of claim 1, wherein the device has                before controlling the switch to decouple the electrical power
    capacitance and the predetermined period of time is sufficient          from at least one device.
    to Substantially discharge said capacitance after power is         35     19. A circuit card comprising:
    decoupled from the device.                                                a device for performing operations associated with the
      7. The circuit card of claim 1, wherein the module for                        circuit card,
    controlling the Switch is configured to send a command to the             a switch for switchably coupling electrical power to the
    Switch to cause said Switch to decouple said electrical power.               device to enable the device to operate,
       8. The circuit card of claim 7, further comprising a verifier   40     the device including a module for controlling the Switch to
    for verifying that the command is a valid command for decou                  decouple electrical power from the device, and
    pling power from the device.                                              the circuit card further comprises a Switch controller, oper
       9. The circuit card of claim 1, further comprising a power                able independent of the device, for controlling the
    converter for receiving power from a power source and Sup                    switch to restore electrical power to the device a prede
    plying converted power to said device, and wherein said            45       termined time after the switch decouples electrical
    switch is adapted for switchably coupling the converted                      power from the device if the switch decoupled electrical
    power to said device.                                                        power from the device.
      10. The circuit card of claim 9, wherein said Switch is                 20. The circuit card as claimed in claim 19, further com
    configured for Switchably coupling said power converter to              prising at least one of (a) an interface for receiving a control
    said source of electrical power.                                   50   signal for causing said module to control said Switch, and (b)
       11. The circuit card of claim 1, further comprising a sub            a detector for detecting a condition of said circuit card, and
    strate, and wherein said controller and said device are both            wherein said module is responsive to the detection of said
    disposed on said Substrate.                                             condition to control said Switch to decouple electrical power
                                                                            from said device.
      12. The circuit card of claim 1, wherein the device com
    prises a data storage device.
